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EXHIBIT A
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Gawthrop Greenwood, PC
By: John E. D. Larkin
Pa. Supreme Court No: 307270
17 East Gay Street, Suite 100
P.O. Box 562
West Chester, PA 19381-0562
(610) 696-8225
(610) 696-7111 (fax)
jlarkin@gawthrop.com

RYAN HUNTER IN THE COURT OF COMMON PLEAS

828 Ruben Kehrer Road PHILADELPHIA, PENNSYLVANIA
Muncy, PA 17756

 

 

Plaintiff,
Vv.
CIVIL ACTION ~ LAW

M-B COMPANIES, INC.

 

 

a/k/a September Term, 2019
M-B COMPANIES, INC. OF WISCONSIN
79 Montgomery Street
Montgomery, PA 17752
Defendants. Case No: 190900662
COMPLAINT

Ryan Hunter is a former employee of M-B Companies, Inc., working as a Field
Service Technician. Although his job duties were blue-collar, he was wrongly classed as
an exempt employee, and paid an annual salary based on a forty-hour work week. He

now seeks to recover back-overtime pay, liquidated damages, and statutory penalties.

PARTIES
1. Plaintiff is Ryan Hunter, an adult individual residing at the above-
captioned address.
2. Defendant is M-B Companies, Inc., also known as M-B Companies, Inc. of

Wisconsin, a foreign business corporation with a registered address of 79 Montgomery

St., Montgomery, PA 17752.

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3. Defendant M-B Companies, Inc. is believed and therefore averred to be a

wholly owned subsidiary of Aebi Schmidt.
JURISDICTION & VENUE

4. The Court of Common Pleas has subject matter jurisdiction over this matter
pursuant to 42. Pa.C.S. § 931, which vests this Court with “unlimited original jurisdiction
of all actions and proceedings” not otherwise provided for by law, and over the Fair
Labor Standards Act Claim pursuant to 29 U.S.C. § 216, which permits claims in “any
Federal or State court of competent jurisdiction by any one or more employees for and in
behalf of himself or themselves and other employees similarly situated.”

5. The Court of Common Pleas has in personam jurisdiction over the defendant
in this matter pursuant to 42 Pa.C.S. § 5301(a)(2), inasmuch as the corporate Defendant is
a foreign corporation under the laws of this Commonwealth, and carries on a continuous
and systematic part of its general business within this Commonwealth.

6. Venue is appropriate in the Court of Common Pleas of Philadelphia County
pursuant to Pa.R.Civ.P. 2179, because M-B Companies, Inc. regularly conducts business
in Philadelphia.

FACTS COMMON TO ALL COUNTS

7. M-B Companies manufactures, sells, and services airport snow removal
products, including to the Philadelphia International Airport, pavement marking and
striping products, vehicle attachments, and brushes.

8. To that end, M-B Companies employs field service technicians to provide

repair services to clients who have purchased M-B equipment.

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9. On or about January 26, 2016, Mr. Hunter was offered employment with
M-B Companies as a Service Technician based at that company’s Pavement Marking
Division located at 79 Montgomery Street in Montgomery, PA. (Offer-Letter, attached at
Exhibit “A”).

10. The offer letter describes the position as “a salaried exempt employee with
a starting annual salary of $50,000.” (Id.)

11. Mr. Hunter was entitled to two weeks of paid vacation pursuant to his offer
letter. (Id.)

12. In fact, however, the job duties appended to the offer letter make clear that
this position does not meet the Fair Labor Standards Act's definition of “exempt.”
Specifically, M-B Companies’ Service Technicians were required to:

a. Install new or modified equipment at customer’s facility to ensure full
functionality according to specifications.

b. Review performance reports and documentation from customers and
field representatives, and inspect malfunctioning or damaged products
to determine nature and scope of problem.

c. Prospect, introduce, and demonstrate equipment to potential customers
and dealers. Work with prospective customers to write specifications
that require the unique features of M-B equipment.

d. Deliver demonstration equipment to customers and dealers, conduct
equipment demonstrations for customer personnel, function as a
resource to answer future equipment related questions.

e. Participate in the creation of a sales forecast that will be used to help
establish equipment build schedules.

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f. Analyze review and inspection findings to determine sources of
problems and recommend repairs, replacement, or other corrective
actions.

g. Coordinate problem resolution utilizing photography or video
equipment with engineering, customer service, and other personnel to
expedite repairs.

h. Develop service handbooks and bulletins based on field investigations,
engineering changes and overall knowledge of products.

i. Provide on-site technical assistance to help troubleshoot and repair
equipment.

j. Analyze reports of technical problems to determine trends affecting
future design, production, service, and maintenance processes, and
recommend modifications to eliminate future problems.

k. Develop and conduct training on the safe operations of the equipment
and demonstrate skills to trainees, including both team members and
customers.

1. Evaluate field installations and recommend design modifications to
eliminate machine or system malfunctions.

m. Attend trade shows which may include assembling and disassembling
booth and equipment.

13. These job duties as set forth in the offer letter describe a non-exempt blue
collar position.

14. After his hire, Mr. Hunter discovered that the day-to-day performance of
his duties principally involved —as the title suggests ~ servicing equipment sold by M-B
Companies.

15. In short, the job as actually performed requires knowledge and skill, but is

a blue-collar position.

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16. Between his hire and departure from the company, Mr. Hunter traveled to
job-sites to evaluate and repair equipment in Little Rock AK, Dallas TX, Owings Mills
MD, Byron Center, MI, Oneida County, NY, Safety Signs, MN, Knoxville, TN, Atlanta
GA, Shreveport, LA, Aurora, IL, Charlotte, NC, Cape Coral FL, many sites in the
Commonwealth of Pennsylvania, and to other locations.

17. Mr. Hunter generally worked seventy-five hours per week or more, not
including excludable travel time.

18. Mr. Hunter’s salary presumed a forty-hour week, as evidenced by the
handbook (attached at Exhibit “B”) and his pay-stubs (attached at Exhibit “C’”).

19. Thus, Mr. Hunter’s hourly wage is in his first year was twenty-five dollars
per hour.

($50,000 + 50 weeks) + 40 hours = $25 dollars per hour.

20. Starting on the week ending July 15, 2016, Mr. Hunter received a raise to an
annual salary of $51,500, and as a result his hourly wage in his second year was twenty-
five dollars and seventy-five cents per hour.

($51,500 + 50 weeks) + 40 hours = $25.75 dollars per hour.

21. Starting on the week ending July 28, 2017, Mr. Hunter received a raise to an
annual salary of $53,100, and as a result his hourly wage became twenty-six dollars and
fifty-five cents per hour.

($53,100 + 50 weeks) + 40 hours = $26.55 dollars per hour.

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22. Starting on the week ending October 12, 2018, Mr. Hunter received a raise
to an annual salary of $54,636.40, and as a result his hourly wage became twenty-seven
dollars and thirty-two cents per hour.

($54,636.40 + 50 weeks) + 40 hours = $27.32 dollars per hour.
23. Mr. Hunter’s last week with M-B Companies was the week of May 3, 2019.
COUNT I: FAIR LABOR STANDARDS ACT (“FLSA”) 29 U.S.C. § 201, et seq.

24. The foregoing paragraphs are incorporated by reference as if fully set forth
herein.

25. Mr. Hunter is entitled to overtime pay for each week that he worked in
excess of forty hours, because he is not an exempt employee under FLSA.

26. Following investigation, it is apparent that Mr. Hunter worked
approximately seventy-five hours in each calendar week, and took substantially no
vacation or sick time over the period of his employment with M-B Companies, Inc.

27. Following investigation, it is apparent that M-B Companies was informed
by multiple employees that Mr. Hunter and similarly situated technicians were not
exempt and were entitled to overtime. M-B Companies, Inc. intentionally ignored this
notice.

28. It is believed, and therefore averred, that M-B Companies has improperly
classified Mr. Hunter’s position in its records in order to conceal the true nature of his job
duties.

29. It is believed, and therefore averred, that M-B Companies has otherwise

failed to keep records regarding Mr. Hunter’s employment as required by the FLSA.

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30.  Inshort, it is alleged that M-B Companies willfully knew and concealed the
fact that Mr. Hunter’s position was non-exempt in a deliberate attempt to deceive him
into believing that he was not entitled to overtime pay so as to equitably toll the statute
of limitations back to the date of his hire.

31. In any event, M-B Companies knew of the requirement that it pay Mr.
Hunter and similarly situated employees overtime at the time of Mr. Hunter's hire, but
willfully ignored that obligation so as to extent the statute of limitations from two-to-
three years.

32. Mr. Hunt is therefore entitled to recover $234,031.90 in unpaid overtime.
(See Exhibit “D”).

33. Mr. Hunt is entitled to double damages under FLSA, as well as attorneys’
fees.

WHEREFORE, based on the foregoing, plaintiff Ryan Hunter respectfully requests
that this Court enter JUDGMENT in his favor and against M-B Companies, Inc in the total
amount of $526,571.78, representing $234,031.90 in unpaid overtime, $234,031.90 in FLSA
liquidated damages, and $58,507.90 in liquidated damages under the WPCL, together
with attorneys’ fees, costs, and such additional relief as this Court deems proper.

COUNT II: VIOLATIONS OF THE PENNSYLVANIA
WAGE PAYMENT & COLLECTION LAW (“WPCL”) 43 P.S. 260.1, et seq.

34. The foregoing paragraphs are incorporated by reference as if fully set forth

herein.

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35. For all the reasons the statute of limitations is equitably tolled with respect
to the FLSA, it is also tolled as to the WPCL.

36. The failure to pay overtime wages constitutes a violation of the WPCL as
well as the FLSA, and entitles Mr. Hunter his unpaid overtime together with a liquidated
penalty of $58,507.98 in liquidated damages, as well as attorneys’ fees and court costs.

WHEREFORE, based on the foregoing, plaintiff Ryan Hunter respectfully requests
that this Court enter JUDGMENT in his favor and against M-B Companies, Inc in the total
amount of $526,571.78, representing $234,031.90 in unpaid overtime, $234,031.90 in FLSA
liquidated damages, and $58,507.90 in liquidated damages under the WPCL, together

with attorneys’ fees, costs, and such additional relief as this Court deems proper.

Date: September 26, 2019 By:

 

Jagk Larkin
ttorney fdr Plfintiff

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January 26, 2016

 
 

Mr, Ryan Hunter
1126 Tucker Street
Williamsport, PA 17701

 

Dear Ryan:

am pleased to offer you the position of Service Technician at M-B Companies,
Inc. In this position you will be classified as a salaried exempt employee with a
starting annual salary of $50,000. This position will be based at the Pavement
Marking Division located at 79 Montgomery Street in Montgomery, PA. This
position will require extensive travel to customer locations.

Essential duties and functions of the position have been described in the Job
Description (copy attached). Please be aware that company policy requires all new
employees to successfully complete a pre-employment drug screen and
background check.

M-B offers an attractive benefit program that includes life, health, dental, vision
and disability insurance, paid vacation, a 401k retirement program, paid holidays,
and a tuition reimbursement program. These benefits will become available after a
ninety day orientation period and are described in detail in the Contributor's
Guide. Reviews with respect to employee performance are held annually effective
in July of each year.

You will be entitled to 32 hours of paid vacation to be used through June 30, 2016,
Thereafter, you will be granted 80 hours each July 1* until you reach the next
vacation plateau as noted in the Contributors Guide.

Ryan, we have enjoyed speaking with you and look forward to receiving a
favorable reply. If you have any questions about the position or any item detailed
here, please feel free to give me a call at (920) 898-1003.

Sincerely,
Tim Stadler

Tim Stadler
Human Resources Manager

Quality you can see. PROP VERCAUIKR O62
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Job Title: Service Technician

Reports To: Business Unit Director
FLSA Status: Exempt

Department: Sales Department

Division: Pavement Marking Equipment
Location: Montgomery, Pennsylvania
Prepared By: Tim Stadler

Date: 06-01-2012

 

Summary: Plans and coordinates activities concemed with demonstrating equipment to customers and
prospective dealers, installing equipment, investigating and resolving customer reports of technical problems
with equipment, and eliminating future operational or service difficulties by performing the following duties.

Essential Duties and Responsibilities include the following. Other duties may be assigned.
Installs new or modified equipment at customer’s facility to ensure full functionality according to specifications.

Reviews performance reports and documentation from customers and field representatives, and inspects malfunctioning or
damaged product to determine nature and scope of problem.

Prospect, introduce, and demonstrate equipment to potential customers and dealers. Work with prospective customers to
write specifications that require the unique features of M-B equipment.

Deliver demonstration equipment to customers and dealers, conduct equipment demonstrations for customer personnel,
function as a resource to answer future equipment related questions.

Participates in the creation of a sales forecast that will be used to help establish equipment build schedules.

Analyzes review and inspection findings to determine source of problem, and recommends repair, replacement, or other
corrective action,

Coordinates problem resolution utilizing photography or video equipment with engineering, customer service, and other
personnel to expedite repairs.

Develops service handbooks and bulletins based on field investigations, engineering changes and overall knowledge of
product.

Provides on-site technical assistance to help troubleshoot and repair equipment.

Analyzes reports of technical problems to determine trends affecting future design, production, service, and maintenance
processes, and recommends modifications to eliminate future problems,

Provide a communication link between the customer and the company to help ensure that effective service is provided to
the customer.

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Develops and conducts training on the safe operations of the equipment and demonstrates skills to trainees, including both
team members and customers.

Evaluates field installations and recommends design modifications to eliminate machine or system malfunctions.
Attends trade shows which may include assembling and disassembling booth and equipment.

Competency:
To perform the job successfully, an individual should demonstrate the following competencies:

Analytical - Synthesizes complex or diverse information; Collects and researches data; Uses intuition and experience to
complement data; Designs work flows and procedures.

Design - Generates creative solutions; Transtates concepts and information into images; Uses feedback to modify designs,
Applies design principles; Demonstrates attention to detail.

Problem Solving - Identifies and resolves problems in a timely manner; Gathers and analyzes information skillfully;
Develops alternative solutions, Works well in group problem solving situations; Uses reason even when dealing with
emotional topics.

Project Management - Develops project plans, Coordinates projects, Communicates changes and progress; Completes
projects on time and budget; Manages project team activities.

Technical Skills - Assesses own strengths and weaknesses; Pursues training and development opportunities; Strives to
continuously build knowledge and skills; Shares expertise with others.

Customer Service - Manages difficult or emotional customer situations, Responds promptly to customer needs, Solicits
customer feedback to improve service; Responds to requests for service and assistance; Meets commitments.

Interpersonal - Focuses on solving conflict, not blaming; Maintains confidentiality, Listens to others without interrupting;
Keeps emotions under control; Remains open to others’ ideas and tries new things.

Oral Communication - Speaks clearly and persuasively in positive or negative situations; listen and gets clarification,
Responds well to questions; Demonstrates group presentation skills; Participates in mectings.

Team Work - Balances team and individual responsibilities; Exhibits objectivity and openness to others' views, Gives and
welcomes feedback; Contributes to building a positive team spirit; Puts success of team above own interests, Able to build
morale and group commitments to goals and objectives; Supports everyone's efforts to succeed; Recognizes
accomplishments of other team members.

Written Communication - Writes clearly and informatively; Edits work for spelling and grammar, Varies writing style to
meet needs; Presents numerical data effectively; Able to read and interpret written information.

Change Management - Develops workable implementation plans, Communicates changes effectively, Builds commitment
and overcomes resistance; Prepares and supports those affected by change; Monitors transition and evaluates results.

Quality Management - Looks for ways to improve and promote quality, Demonstrates accuracy and thoroughness,

Visionary Leadership - Displays passion and optimism; Inspires respect and trust, Mobilizes others to fulfill the vision;
Provides vision and inspiration to peers and subordinates.

Cost Consciousness - Works within approved budget; Develops and implements cost saving measures; Contributes to
profits and revenue ; Conserves organizational resources.

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Diversity - Shows respect and sensitivity for cultural differences, Promotes a harassment-free environment; Builds a
diverse workforce.

Ethics - Treats people with respect; Keeps commitments, Inspires the trust of others, Works with integrity and ethically;
Upholds organizational values.

Organizational Support - Follows policies and procedures, Completes administrative tasks correctly and on time, Supports
organization's goals and values; Benefits organization through outside activities; Supports affirmative action and respects

diversity.

Adaptability - Adapts to changes in the work environment; Manages competing demands, Changes approach or method to
best fit the situation; Able to deal with frequent change, delays, or unexpected events.

Attendance/Punctuality - 1s consistently at work and on time; Ensures work responsibilities are covered when absent,
Arrives at meetings and appointments on time.

Dependability - Follows instructions, responds to management direction; Takes responsibility for own actions; Keeps
commitments; Commits to long hours of work when necessary to reach goals; Completes tasks on time or notifies
appropriate person with an alternate plan.

Initiative - Volunteers readily; Undertakes self-development activities, Seeks increased responsibilities, Takes
independent actions and calculated risks, Looks for and takes advantage of opportunities; Asks for and offers help when
needed.

Innovation - Displays original thinking and creativity; Meets challenges with resourcefulness, Generates suggestions for
improving work; Develops innovative approaches and ideas; Presents ideas and information in a manner that gets others’
attention.

Judgment - Displays willingness to make decisions, Exhibits sound and accurate judgment; Supports and explains
reasoning for decisions; Includes appropriate people in decision-making process, Makes timely decisions.

Motivation - Sets and achieves challenging goals; Demonstrates persistence and overcomes obstacles, Measures self
against standard of excellence; Takes calculated risks to accomplish goals.

Planning/Organizing - Prioritizes and plans work activities, Uses time efficiently, Plans for additional resources, Sets
goals and objectives; Organizes or schedules other people and their tasks; Develops realistic action plans.

Professionalism - Approaches others in a tactful manner; Reacts well under pressure; Treats others with respect and
consideration regardless of their status or position; Accepts responsibility for own actions; Follows through on
commitments.

Quality - Demonstrates accuracy and thoroughness; Looks for ways to improve and promote quality; Applies feedback to
improve performance; Monitors own work to ensure quality.

Quantity - Meets productivity standards; Completes work in timely manner, Strives to increase productivity; Works
quickly.

Safety and Security - Observes safety and security procedures, Determines appropriate action beyond guidelines, Reports
potentially unsafe conditions; Uses equipment and materials properly.

Qualifications:

To perform this job successfully, an individual must be able to perform each essential duty satisfactorily. The
requirements listed below are representative of the knowledge, skill, and/or ability required. 80-90% of extensive travel
is required, Reasonable accommodations may be made to enable individuals with disabilities to perform the essential

functions.

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Education/Experience:

Associates Degree in related technical field and two to four years related sales experience and/or training; or equivalent
combination of education and experience.

Language Ability:

Ability to read, analyze, and interpret general business periodicals, professional journals, technical procedures, or
governmental regulations, Ability to write reports, business correspondence, and procedure manuals. Ability to
effectively present information, demonstrate equipment and respond to questions from groups of managers, clients,
customers, and the general public.

Math Ability:

Ability to work with mathematical concepts such as probability and statistical inference, and fundamentals of plane and
solid geometry and trigonometry. Ability to apply concepts such as fractions, percentages, ratios, and proportions to
practical situations.

Reasoning Ability:

Ability to define problems, collect data, establish facts, and draw valid conclusions. Ability to interpret an extensive
variety of technical instructions in mathematical or diagram form and deal with several abstract and concrete variables.

Computer Skills:

To perform this job successfully, an individual should have knowledge of Microsoft Word processing software, Microsoft
Excel spreadsheet software, knowledgeable of photo and video equipment.

Work Environment:

The work environment characteristics described here are representative of those an employee encounters while performing
the essential functions of this job. Reasonable accommodations may be made to enable individuals with disabilities to
perform the essential functions.

While performing the duties of this job, the employee is frequently exposed to work near moving mechanical parts. The
employee is occasionally exposed to fumes or airborne particles; outdoor weather conditions, risk of electrical shock; risk
of radiation and vibration.

The noise level in the work environment is usually moderate,

Physical Demands:

The physical demands described here are representative of those that must be met by an employee to successfully perform
the essential functions of this job. Reasonable accommodations may be made to enable individuals with disabilities to
perform the essential functions.

The employee must frequently lift and/or move up to 25 pounds. Specific vision abilities required by this job include

Close vision, Distance vision, Peripheral vision, Depth perception and Ability to adjust focus, While performing the duties
of this Job, the employee is regularly required to talk or hear and taste or smell. The employee is frequently required to
stand; walk; sit; use hands to finger, handle, or feel and reach with hands and arms. The employee is occasionally required
to climb or balance and stoop, kneel, crouch, or crawl. Extensive travel is required for this position (80-90%).

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Students: All students (whether hired for the summer or during the school year)
are considered part-time employees regardless of the number of hours worked.
Students are not eligible for benefits (except as otherwise required by law).

The above employees will fall within one of the following classifications:

Non-Exempt Employees: Non-exempt employees are eligible for overtime pay
for hours worked in excess of 40 hours in a week in accordance with state and
federal wage and hour laws.

Exempt Salaried Employees: Exempt salaried employees (referred to herein at
times as “exempt employees”) are not eligible for overtime pay. Notwithstanding
anything to the contrary in this handbook, the salary of exempt employees will not
be subject to deductions because of variations in quality or quantity of work
performed, except to the extent permitted by the U.S. Dept. of Labor Regulations
29 CFR. §541.602(a) or (b). An exempt employee who believes that the
Company has made an improper deduction from his or her salary should promptly
report such concern to the Company. A complaint regarding an improper
deduction should be directed to the Administrative Manager for your location or
the Human Resources Manager. The complaint will be promptly and fully
investigated to ensure compliance with this policy. In the event an improper
deduction was made from an exempt employee’s salary, the Company will
promptly reimburse such employee.

2.190 Overtime & Compensation

 

If you are classified as a non-exempt employee you will receive compensation for
overtime as follows:

® All work performed by non-exempt employees in excess of forty (40) hours
per week shall be paid for at time and one-half the employee’s regular rate
of pay. Overtime pay shall not be payable for Saturday work if the
employee has not worked forty (40) hours during the work week, Paid time
off for vacation and sick days will be considered hours worked for purposes
of determining an employee’s eligibility for overtime pay in a week.

e All work performed by non-exempt employees on Sunday will be paid at
two (2) times the employee’s regular rate of pay. There will be no
pyramiding of overtime rates.

Non-exempt employees are to obtain approval from their supervisor or other
manager prior to working overtime.

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a brand of aebi schmidt
mi 1615 WISCONSIN AVENUE, NEW HOLSTEIN, WI 53061 920-898-4203

Ryan K. Hunter Supr: 582 Dept:
Date: 05/03/19

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Pay Type Hours Pay Amt Pay YTD Tax Type Tax Amt Tax YTD

Regular 40.00 1,050.70 18,912.60 Federal 91.56 1,648.08
Local~PA24 17,34 312.12
MedicareEE 43.51 243.18
SocSec-EE 57.79 1,040.22
State-PA 32.26 580.68

TOTALS 40,00 1,050.70 18,912.60 212.46 3,824.28

Deduction Ded Amt Ded YTD Reference

Dr. Deposit 718.58 12,934.44 MéT Bank

Dental 12,98 233.64 Dental-Low Employee/Spouse

Medical-F 102.18 1,839.24 Medical~Employee/Spouse

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Vision 3,50 63,00 Vision-Limited Family

TOTALS 838.24 15,088.32

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order of 828 Ruben Kehrer Road
Muncy PA 17756

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Case 2:19-cv-04838-CDJ Document 1-1 Filed 10/16/19 Page 22 of 27

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Case 2:19-cv-04838-CDJ Document 1-1 Filed 10/16/19 Page 23 of 27

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Case ID: 190900662
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Case ID: 190900662
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RYAN HUNTER IN THE COURT OF COMMON PLEAS
828 Ruben Kehrer Road PHILADELPHIA, PENNSYLVANIA
Muncy, PA 17756
Plaintiff
Vv.
CIVIL ACTION - LAW
M-B COMPANIES, INC. :
a/k/a September Term, 2019
M-B COMPANIES, INC. OF WISCONSIN
79 Montgomery Street
Montgomery, PA 17752
Defendants. Case No: 190900662

 

VERIFICATION

I, Ryan Hunter, Plaintiff in the above-captioned Action, do hereby verify that the

factual allegations set forth in the foregoing Complaint are true and correct to the best of

; understand that false statements herein are

 

my knowledge, information and belief

made subject to the penalties of 18 Pa.C.S, § 4904, relating to unsworn falsification to

 

 

authorities.
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Date: G left 7 By: é Apex aks
/ RyarFunter/ yp

Case ID: 190900662
Case 2:19-cv-04838-CDJ Document 1-1 Filed 10/16/19 Page 26 of 27

Gawthrop Greenwood, PC
By: John E. D. Larkin
Pa. Supreme Court No: 307270
17 East Gay Street, Suite 100
P.O. Box 562
West Chester, PA 19381-0562
(610) 696-8225
(610) 696-7111 (fax)
jlarkin@gawthrop.com

 

 

RYAN HUNTER IN THE COURT OF COMMON PLEAS
828 Ruben Kehrer Road PHILADELPHIA, PENNSYLVANIA
Muncy, PA 17756

Plaintiff,

V.
CIVIL ACTION - LAW

M-B COMPANIES, INC.

 

 

a/k/a September Term, 2019
M-B COMPANIES, INC. OF WISCONSIN
79 Montgomery Street
Montgomery, PA 17752
Defendants. Case No: 190900662
CERTIFICATE OF SERVICE

 

L John E. D. Larkin, attorney for Plaintiff, certify that I have this day served a copy
of the foregoing Complaint to the above-captioned plaintiff by sending a copy, postage

pre-paid, to the following address:

M-B COMPANIES, INC. a/k/a M-B COMPANIES, INC. OF WISCONSIN
79 Montgomery Street
Montgomery, PA 17752

Date: September 27, 2019

 

Jack Larkir} ©
torney fof Plofntiff

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Case 2:19-cv-04838-CDJ Document 1-1 Filed 10/16/19 Page 27 of 27

 
 

FIRST JUDICIAL DISTRICT

  
 

 

Office
27

 

RYAN HUNTER
828 Ruben Kehrer Road
Muncy, PA 17756
Plaintiff,
Vv.

M-B COMPANIES, INC.
a/k/a
M-B COMPANIES, INC. OF WISCONSIN
79 Montgomery Street
Montgomery, PA 17752
Defendants.

 

Case No: 190900662

 

 

NOTICE TO DEFEND

NOTICE

You have been sued in court. If you wish to defend
against the claims set forth in the following pages,
you must take action within twenty (20) days after
this complaint and notice are served, by entering a
written appearance personally or by attorney and
filing in writing with the court your defenses or
objections to the claims set forth against you. You
are warned that if you fail to do so the case may
proceed without you and a judgment may be
entered against you by the court without further
notice for any money claimed in the complaint of for
any other claim or relief requested by the plaintiff.
You may lose money or property or other rights
important to you.

You should take this paper to your lawyer at once. If
you do not have a lawyer or cannot afford one, go to
or telephone the office set forth below to find out
where you can get legal help.

Philadelphia Bar Association
Lawyer Referral
and Information Service
One Reading Center
Philadelphia, Pennsylvania 19107
(215) 238-6333
TTY (215) 451-6197

AVISO

Le han demandado a usted en la corte. Si usted
quiere defenderse de estas demandas expuestas en
las paginas siguientes, usted tiene veinte (20) dias
de plazo al partir de la fecha de la demanda y la
notificacion. Hace falta ascentar una comparencia
escrita 0 en persona o con un abogado y entregar a
la corte en forma escrita sus defensas o sus
objeciones a las demandas en contra de su persona.
Sea avisado que si usted no se defiende, la corte
tomara medidas y puede continuar la demanda en
contra suya sin previo aviso o notificacion, Ademas,
la corte puede decider a favor del demandante y
requiere que usted cumpla con todas las provisiones
de esta demanda. Usted puede perder dinero o sus
propiedades u otros derechos importantes para
usted.

Lleve esta demanda a un abogado immediatamente.
Si no tiene abogado o si no tiene el dinero suficiente
de pagar tal servicio, Vaya en persona o llame por
telefono a la oficina cuya direccion se encuentra
escrita abajo para averiguar donde se puede
conseguir asistencia legal.

Asociacion De Licenciados
De Filadelfia
Servicio De Referencia E
Informacion Legal
One Reading Center
Filadelfia, Pennsylvania 19107
(215) 238-6333
TTY (215) 451-6197

Case ID: 190900662
